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 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10   EBONY BALLARD,                        Case No. 2:20-cv-02679-MCS-E
11
                      Plaintiff,           JUDGMENT
12
13               v.
14
     LOUIS DEJOY, Postmaster General of
15   the United States Postal Service,
16
                      Defendant.
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